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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA



  DELPHINE GREEN,

                         Petitioner,

  v.                                                            Civil Action No. 1:07cv55
                                                                Criminal Action No. 1:05cr102(2)
                                                                (Judge Keeley)

  UNITED STATES OF AMERICA,

                         Respondent.


                        OPINION/REPORT AND RECOMMENDATION

         On April 19, 2007, the pro se petitioner, Delphine Green, filed a Habeas Corpus Motion

  Under 28 U.S.C. § 2255 raising three grounds for relief. On June 12, 2007, the undersigned

  conducted a preliminary review of the petition and determined that the petitioner did not provide the

  Court with enough information in grounds two and three to fully assess the viability of those claims.

  Consequently, the petitioner was directed to file an amended petition.

         On July 9, 2007, the petitioner filed an amended petition raising the same three claims as

  raised in the original petition. Accordingly, this case is before the undersigned for a preliminary

  review of the amended petition.

  I. The Petitioner’s Conviction and Sentence

         On November 1, 2005, the petitioner, and Marcus Ronald Sanders, were charged in a seven

  count, sealed indictment of conspiracy to distribute a controlled substance and distribution of a

  controlled substance near a school or playground. (Dckt. 1) Mr. Sanders was named in all seven

  counts of the indictment while the petitioner was named only in counts one, two, four, six and seven.
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  Id. On November 17, 2005, the case was unsealed and the petitioner was arrested. (Dckt. 14) The

  petitioner was appointed counsel, Scott Shough, on November 18, 2005. (Dckt. 16)

          On January 19, 2006, the parties entered into a plea agreement in which the petitioner agreed

  to plead guilty to count six of the indictment, aiding and abetting another person in unlawfully,

  knowingly, and intentionally distributing approximately 1.02 grams of crack cocaine within 1000

  feet of a playground in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C) and 860 and 18 U.S.C. §

  2.1 (Dckt. 51) Moreover, the petitioner waived her right to have her guilty plea taken by a United

  States District Judge, and instead, consented to have a United States Magistrate Judge take her guilty

  plea. (Dckt. 52)

          The petitioner appeared before the undersigned for a change of plea hearing on January 19,

  2006. (Dckt. 56) The petitioner and her counsel were present at that proceeding, as was Assistant

  United States Attorney, Shawn Angus Morgan (“AUSA Morgan”). Id. During the plea colloquy,

  the petitioner stated in open court that she understood the terms of the written plea agreement, that

  it contained the whole of her agreement with the Government, and that no promises or

  representations were made to her other than those outlined in the written plea agreement. Id. at 2.

  The undersigned questioned the petitioner relative to her knowledgeable and voluntary execution

  of the written plea agreement. Id. Based on the petitioner’s representations at her change of plea



          1
            The basis for Count Six of the indictment was that on August 6, 2004, a confidential informant
  (“CI”) telephoned the petitioner’s residence and asked for $200 worth of crack cocaine. Dckt. 56 at 5.
  The petitioner consulted with her co-defendant who approved the transaction. Id. The CI met with the
  petitioner at her residence and paid $200 to the petitioner’s co-defendant. Id. The petitioner and her co-
  defendant went downstairs to the “source of their supply” and came back with the crack cocaine. Id. A
  controlled buy took place which was recorded by both audio and video surveillance. Id. The substance
  purchased by the CI was tested by the West Virginia State Police laboratory and was determined to be
  1.02 grams of cocaine base. Id. The petitioner’s residence was located within 1000 feet of the Stonewall
  Jackson playground. Id. at 6.

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  hearing, the undersigned determined that the plea was both knowingly and voluntarily made. Id.

  The Court also confirmed that the petitioner received and reviewed Count Six of the Indictment with

  her attorney and reviewed the statutory penalties applicable to an individual adjudicated guilty of

  the felony charge contained in Count Six. Id. at 3.

         The undersigned further assessed the petitioner’s competency to proceed with the plea

  hearing and based upon the petitioner’s representations, found that the petitioner understood the

  nature of the charge pending against her, understood the possible statutory maximum sentence which

  could be imposed, understood that certain monetary penalties could be imposed and understood that

  she would also be subject to a term of supervised release. Id. at 3-4. Accordingly, the undersigned

  recommended that the petitioner’s plea of guilty be accepted and that the petitioner be adjudged

  guilty on Count Six of the Indictment and have sentence imposed accordingly. Id. at 6.

         The undersigned’s recommendation as to the petitioner’s guilty plea was adopted by the

  Honorable Irene M. Keeley, United States District Judge, on February 8, 2006. A corrected Order

  was issued on February 10, 2006.2

         On May 12, 2006, the petitioner was sentenced to 57 months imprisonment on Count Six of

  the Indictment. (Dckt. 66) Counts one, two, four and seven were dismissed and no fine was

  imposed. Id. However, the Court ordered the petitioner to pay a special assessment of $100 and

  further accepted the petitioner’s waiver of appellate rights with respect to any sentence over level

  30.3 The petitioner paid her special assessment on May 12, 2006, and Judgment was entered on May

  16, 2006. (Dckt. 68/70)


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             The sole purpose of the corrected order was to correct a date.
         3
             The plea agreement does not contain a waiver of collateral rights. Dckt. 51 at ¶ 12.

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  II. Petitioner’s Federal Habeas Petition

         In her petition, the petitioner raised the following grounds for relief:

         (1) violation of due process rights, invalid guilty plea prosecution;

         (2) denial of effective assistance of counsel; and

         (3) conviction obtained by use of evidence by unlawful arrest.

         In ground one, the petitioner asserted that she was deprived of her constitutional rights

  because the United States failed to fully honor the terms of the plea agreement. In support of this

  claim, the petitioner asserts that she received a 57-month sentence even though her plea agreement

  states that she was to receive no more than one year.

         In ground two, the petitioner asserted that she was deprived of the effective assistance of

  counsel because her lawyer did not fully defend her or file any motions or objections on her behalf

  at sentencing. However, the petitioner did not specify in what way counsel was ineffective, nor did

  she offer any factual support for this claim.

         In ground three, the petitioner asserted that her conviction was obtained by use of an

  unlawful arrest. In support of this claim, the petitioner asserted that “[o]n 11/01/2005 the case as

  to Delphine Green was sealed, [t]han (sic) on 11/17/2005 the case was unsealed, but the courts says,

  this is an on going investigation for more than two years.” Petition at 6. The petitioner offers no

  further explanation for this claim.

         Upon a preliminary review of these claims, the undersigned determined that the content of

  ground one was clear and could be assessed from the record. However, the undersigned could not

  assess the merits of grounds two and three because the petitioner failed to provide enough factual

  support for the undersigned to determine the basis for the claims. Consequently, the petitioner was


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  directed to file an amended petition. Specifically, the petitioner was directed to clarify the basis

  under which she sought relief under grounds two and three and to provide a sufficient factual basis

  for each of those claims. The petitioner filed her amended petition on July 9, 2007. (Dckt. 103)

          In the amended petition, the petitioner asserts that the same three grounds for relief. Ground

  one in the amended petition is substantially the same as ground one in the amended petition. Ground

  two of the amended petition now explains that the petitioner was denied the effective assistance of

  counsel because the government would not allow her husband, and co-defendant, to help her receive

  new assistance on her behalf. The petitioner asserts that her lawyer did not fully defend her and was

  not truthful in the case because he knew the petitioner could not read or write. Therefore, the

  petitioner argues that she did not fully understand the charges against her and could not properly

  defend herself. Ground three of the amended petition merely reiterates the same incoherent ground

  three stated in the original petition. Specifically, ground three of the amended petition states:

         On 11/1/2005[,] the case as to Delphine Green was sealed. Than (sic) on 11/17/2005
         [,] the case was unsealed, but the courts say, this is an on going investigation for
         more than two years but husband Marcus Sanders was arrested in 2004 on same
         cases that courts said in 2004 was dismissed due to non-involvement.

  III. Analysis

  A. Validity of Plea Agreement

         In this ground, the petitioner asserts that she was deprived of her constitutional right to due

  process of law, as well as a fair and equitable sentencing determination, because the United States

  willfully failed to honor all of the terms and conditions of the written plea agreement. Specifically,

  the petitioner asserts that in the plea agreement, the government agreed to a sentence of no more

  than one year. The petitioner was actually sentenced to 57 months imprisonment. Therefore, the

  petitioner argues that the government breached the plea agreement and that her plea is invalid.

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         When a guilty plea rests in any significant degree on a promise or agreement of the

  prosecutor, so that it could be said to be part of the inducement or consideration, such promise must

  be fulfilled. United States v. Beltran-Ortiz, 91 F.3d 665, 668 (4th Cir. 1996). The validity of the

  plea is called into question if the prosecutor’s promises are not carried out, because the plea is

  involuntary. Santobello v. New York, 404 U.S. 257 (1971). A party alleging breach has the burden

  of proving the breach by a preponderance of the evidence. United States v. Conner, 930 F. 2d 1073,

  1076 (4th Cir.), cert. denied, 502 U.S. 958 (1991).

         Upon a review of the file in this case, the undersigned finds that ground one is clearly refuted

  by the record and should be dismissed. The plea agreement specifically states:

         The maximum penalty to which Ms. Green will be exposed by virtue of her plea of
         guilty, as stated in paragraph 1 above, is imprisonment for a term of at least one (1)
         year and not more than forty (40) years . . .

  Dckt. 51 at ¶ 2 (emphasis added). The plea agreement further states:

         There have been no representations whatsoever by any agent or employee of the
         United States or any other law enforcement agency, as to what the final disposition
         in this matter should and will be. This agreement includes nonbinding
         recommendations by the United States, pursuant to Rule 11(c)(1)(B); however the
         defendant understands that the Court is not bound by these sentence
         recommendations, and that the defendants has no right to withdraw a guilty plea if
         the Court does not follow the sentencing recommendations set forth in this plea
         agreement.

  Dckt. 51 at ¶ 6 (emphasis in original).

         Finally, the plea agreement also states:

         The above fourteen (14) paragraphs constitute the entire agreement between Ms.
         Green and the United States of America in this matter. There are no agreements,
         understandings or promises between the parties other than those contained in this
         agreement.

  Dckt. 51 at ¶ 15.


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         Moreover, at the change of plea hearing, the terms of the plea agreement were summarized

  verbally by AUSA Morgan. Transcripts (dckt. 90) at 5-14. In addition, the undersigned,

  recognizing the petitioner’s lack of education and inability to read, specifically asked the petitioner

  if her counsel had read her everything involved in this case. Id. at 17. The petitioner responded

  affirmatively. Id. Additionally, the petitioner acknowledged that she understood the English

  language as spoken. Id. Thereafter, the undersigned thoroughly explained the terms of the

  petitioner’s plea agreement, including the possible sentences. Id. at 40-50. During this explanation,

  the petitioner repeatedly stated that she understood the terms of her agreement and the possible

  consequences of entering a guilty plea. Id. At the close of the change of plea hearing, the petitioner

  stated that she wished to plead guilty and did so. Id. at 54.

         Clearly, the petitioner was aware that she would receive a sentence of at least one year, up

  to 40 years. The petitioner affirmed, in both the plea agreement and at her change of plea hearing,

  that there were no representations made to her outside of the plea agreement which induced her

  decision to plead guilty. Moreover, the plea agreement does not contain any provision that the

  petitioner receive a sentence of only one year. Moreover, as explained to the petitioner in both the

  plea agreement and at the change of plea hearing, any sentencing recommendation by the United

  States Attorney would be non-binding on the Court. Thus, ground one is without merit and should

  be denied.

  B. Ineffective Assistance of Counsel

         In Strickland v. Washington, 466 U.S. 668 (1984), the Supreme Court of the United States

  established a two-part test for determining whether a convicted person is entitled to relief on the

  ground that his counsel rendered ineffective assistance. The first prong of the test requires that


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  petitioner demonstrate that counsel’s performance was deficient and “fell below an objective

  standard of reasonableness.” Strickland at 688. The second prong requires the petitioner to show

  that the deficient performance prejudiced the defense. Id. at 687. In order to satisfy the prejudice

  requirement of the two-prong test set forth in Strickland, defendant must show that “counsel’s errors

  were so serious as to deprive the defendant of a fair trial, a trial whose result is reliable.” Lockhart

  v. Fretwell, 506 U.S. 364 (1993).

         In addition, “a defendant who alleges ineffective assistance of counsel following the entry

  of a guilty plea has an even higher burden to meet.” Hill v. Lockhart, 474 U.S. 52, 53-59 (1985).

  In the case of a guilty plea, the defendant must show that “there is a reasonable probability that, but

  for counsel’s errors, he would not have pleaded guilty and would have insisted on going to trial.”

  Hill v. Lockhart, 474 U.S. 52, 59 (1985) (footnote omitted); Hooper v. Garraghty, 845 F.2d 471, 475

  (4th Cir. 1988). “A reasonable probability is a probability sufficient to undermine confidence in the

  outcome.” Strickland 466 U.S. at 694.

           It is further noted that a Court must indulge a strong presumption that counsel’s conduct

  falls within the wide range of reasonably professional assistance. Strickland 466 U.S. at 689-90.

  Moreover, there are no absolute rules in determining what is reasonable performance. See Hunt v.

  Nuth, 57 F.3d 1327, 1332 (4th Cir. 1995) (counsel’s representation is viewed on the facts of a

  particular case and at the time of counsel’s conduct).

         Here, the petitioner argues that counsel was ineffective because he did not fully defend her

  and was not truthful in the case because he knew the petitioner could not read or write. Therefore,

  the petitioner argues that she did not fully understand the charges against her and could not properly

  defend herself. However, this claim is clearly refuted by the record for the same reasons noted in


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  ground one above. The petitioner’s representations at the Rule 11 plea hearing show that counsel

  was fully aware that she could not read or write, that counsel read and explained all documents

  relevant to the case to her, that she did fully understand the charges against her and that her plea was

  voluntarily and knowingly made. Accordingly, ground two is without merit and should be denied.

  See United States v. Lambey, 974 F.2d 1389, 1395 (4th Cir. 1992) (en banc), cert. denied, 513 U.S.

  1060 (1994) (citing Blackledge v. Allison, 431 U.S. 63, 73-73 (1974) (“Statements of fact by a

  defendant in Rule 11 proceedings may not ordinarily be repudiated, and, similarly, findings by a

  sentencing court in accepting a plea ‘constitute a formidable barrier’ to attacking the plea.”).

  C. Conviction Obtained by Use of Evidence by Unlawful Arrest

         In ground three, the petitioner asserts that her conviction was obtained by use of evidence

  of an unlawful arrest. In support of this claim, the petitioner asserts that her case was sealed on

  November 1, 2005, but then later unsealed on November 17, 2005. The petitioner further states that

  the “courts say” this was an on going investigation for more than two years, but that her co-

  defendant was arrested in 2004 on the same case. Additionally, the petitioner argues that the case

  was dismissed in 2004 for non-involvement.

         It appears that the petitioner is arguing that because her arrest was unlawful, her conviction

  was illegally obtained. In support of her claim, the petitioner makes a nonsensical argument about

  the case being sealed and then unsealed, her co-defendant being arrested before she was, and the fact

  that the investigation was on going for a period of two years. However, the petitioner fails to state

  how the sealing and unsealing of her indictment, or the fact that her co-defendant was arrested in

  2004, had any effect on the legality of her arrest. Moreover, the petitioner fails to explain how her

  arrest was made illegal by the fact that the investigation into the charges took two years to complete.


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         “A petitioner collaterally attacking his sentence or conviction bears the burden of proving

  that his sentence or conviction was imposed in violation of the Constitution or laws of the United

  States, that the court was without jurisdiction to impose such a sentence, that the sentence exceeded

  the maximum authorized by law, or that the sentence otherwise is subject to collateral attack. 28

  U.S.C. § 2255. A motion collaterally attacking a petitioner’s sentence brought pursuant to § 2255

  requires the petitioner to establish his grounds by a preponderance of the evidence.” Sutton v.

  United States of America, 2006 WL 36859 *2 (E.D.Va Jan. 4, 2006).

         Here, despite the Court’s prior direction to clarify this ground in an amended petition, the

  petitioner has failed to establish by a preponderance of the evidence that her conviction was imposed

  in violation of the Constitution or laws of the United States. The petitioner has provided no

  evidence that her arrest was unlawful or that she was convicted based on evidence obtained during

  an unlawful arrest. Accordingly, ground three is due to be denied.

  IV. Recommendation

         For the reasons set forth in this opinion, the undersigned recommends that the Court enter

  an Order DENYING Petitioner’s § 2255 motion and DISMISSING this case with prejudice.

         Within ten (10) days after being served with a copy of this Opinion/Recommendation, any

  party may file with the Clerk of the Court written objections identifying the portions of the

  Recommendation to which objections are made, and the basis for such objections. A copy of such

  objections shall also be submitted to the Honorable Irene M. Keeley, United States District Judge.

  Failure to timely file objections to the Recommendation set forth above will result in waiver of the

  right to appeal from a judgment of this Court based upon such Recommendation. 28 U.S.C. §

  636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985);


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  United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984).

         IT IS SO ORDERED.

         The Clerk is directed to mail a copy of this Order to the pro se petitioner.

         DATED: July 12, 2007.

                                                       /s John S. Kaull


                                                       JOHN S. KAULL
                                                       UNITED STATES MAGISTRATE JUDGE




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